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     Counsel for Defendant
15   FINALE, INC.
16
                  IN THE UNITED STATES DISTRICT COURT
17              FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
19 SCANNING TECHNOLOGIES                     Case No. 5:21-cv-03119-TSH
20 INNOVATIONS, LLC,
                                             FINALE, INC.’S ANSWER,
21              Plaintiff,                   AFFIRMATIVE DEFENSES, AND
                                             COUNTERCLAIMS TO
22
          v.                                 PLAINTIFF’S COMPLAINT
23

24 FINALE, INC.

25
                                             JURY TRIAL DEMANDED
                Defendant.
26
27

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 1             Defendant Finale, Inc. (“Finale” or “Defendant”) files this Answer,
 2   Affirmative Defenses, and Counterclaims to Plaintiff Scanning Technologies
 3   Innovations LLC’s (“Plaintiff” or “Scanning Technologies”) Complaint for Patent
 4   Infringement (“Complaint”). Finale denies the allegations and characterizations in
 5   Plaintiff’s Complaint unless expressly admitted in the following paragraphs.1
 6                                  PARTIES AND JURISDICTION
 7             1.     Finale admits that the Complaint purports to set forth an action for
 8   infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.
 9             2.     Finale admits that this Court has subject matter jurisdiction over this
10   action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
11             3.      Finale is without knowledge or information sufficient to form a belief
12   as to the truth of the allegations in Paragraph 3 of the Complaint and, on that basis,
13   denies all such allegations.
14             4.     Finale admits the allegations in Paragraph 4 of the Complaint.
15             5.     Finale does not contest that the Court has personal jurisdiction over it
16   in this case. Finale admits that it conducts business in the State of California.
17   Finale denies it has committed or is committing acts of infringement within this
18   district or elsewhere and, on that basis, denies the remaining allegations of
19   Paragraph 5 of the Complaint.
20             6.     Finale admits that it conducts business in the State of California,
21   including using, importing, and offering for sale the accused products. Finale
22   denies it has committed or is committing acts of infringement within this district or
23   elsewhere and, on that basis, denies the remaining allegations of Paragraph 6 of the
24   Complaint.
25

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     1
27       For avoidance of doubt, Finale denies liability for all allegations of patent infringement included
           or implied in the introductory paragraph or in any headings of the Complaint.
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 1                                         VENUE
 2         7.     Finale does not contest that venue is proper in this case, but denies
 3   that venue is convenient. Finale denies it has committed or is committing acts of
 4   infringement within this district or elsewhere and, on that basis, denies the
 5   remaining allegations of Paragraph 7 of the Complaint.
 6        COUNT I: [ALLEGED] INFRINGEMENT OF THE ’101 PATENT
 7         8.     Finale incorporates paragraphs 1 through 7 herein by reference.
 8         9.     Finale admits that the Complaint purports to set forth an action for
 9   infringement under the Patent Laws of the United States, in particular, under 35
10   U.S.C. §§ 271, et seq.
11         10.    Finale is without knowledge or information sufficient to form a belief
12   as to the truth of the allegations in Paragraph 10 of the Complaint.
13         11.    Finale admits that a purported copy of U.S. Patent No. 10,600,101
14   (the “’101 Patent”) is attached to the Complaint as Exhibit A and that the face of
15   that patent indicates that it is entitled “Systems and Methods for Indicating the
16   Existence of Accessible Information Pertaining to Articles of Commerce.”
17         12.    Finale denies the ’101 Patent is valid and enforceable. Finale is
18   without knowledge or information sufficient to form a belief as to the truth of the
19   remaining allegations in Paragraph 12 of the Complaint and, on that basis, denies
20   all such allegations.
21         13.    Finale denies the allegations in Paragraph 13 of the Complaint.
22         14.    Finale denies the allegations in Paragraph 14 of the Complaint.
23         15.    Finale denies the allegations in Paragraph 15 of the Complaint.
24         16.    Finale denies the allegations in Paragraph 16 of the Complaint.
25         17.    Finale denies the allegations in Paragraph 17 of the Complaint.
26         18.    Finale denies the allegations in Paragraph 18 of the Complaint.
27         19.    Finale denies the allegations in Paragraph 19 of the Complaint.
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 1         20.     Finale denies the allegations in Paragraph 20 of the Complaint.
 2         21.     Finale denies the allegations in Paragraph 21 of the Complaint.
 3         22.     Finale denies the allegations in Paragraph 22 of the Complaint.
 4         23.     Finale denies the allegations in Paragraph 23 of the Complaint.
 5         24.     Finale denies the allegations in Paragraph 24 of the Complaint.
 6         25.     Finale denies the allegations in Paragraph 25 of the Complaint.
 7         26.     Finale is without knowledge or information sufficient to form a belief
 8   as to the truth of the allegations in Paragraph 26 of the Complaint and, on that
 9   basis, denies all such allegations.
10                        [PLAINTIFF’S] PRAYER FOR RELIEF
11         Finale denies the Plaintiff is entitled to any relief from Finale and denies all
12   the allegations contained in Paragraphs (a)-(e) (including any subparts) of Plaintiff’s
13   Prayer for Relief.
14                              AFFIRMATIVE DEFENSES
15         Finale’s Affirmative Defenses are listed below. Finale reserves the right to
16   amend its answer to add additional Affirmative Defenses consistent with the facts
17   discovered in this case.
18                           FIRST AFFIRMATIVE DEFENSE
19         Finale has not infringed and does not infringe, under any theory of
20   infringement (including directly (whether individually or jointly) or indirectly
21   (whether contributorily or by inducement)), any valid, enforceable claim of the ’101
22   Patent.
23                         SECOND AFFIRMATIVE DEFENSE
24         Each asserted claim of the ’101 Patent is invalid for failure to comply with
25   one or more of the requirements of the United States Code, Title 35, including
26   without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations,
27   and laws pertaining thereto.
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 1                            THIRD AFFIRMATIVE DEFENSE
 2            To the extent that Plaintiff and any predecessors in interest to the ’101 Patent
 3   failed to properly mark any of their relevant products or materials as required by 35
 4   U.S.C. § 287, or otherwise give proper notice that Finale’s actions allegedly infringe
 5   the ’101 Patent, Finale is not liable to Plaintiff for the acts alleged to have been
 6   performed before Finale received actual notice that it was allegedly infringing the
 7   ’101 Patent.
 8                           FOURTH AFFIRMATIVE DEFENSE
 9            To the extent that Plaintiff asserts that Finale indirectly infringes, either by
10   contributory infringement or inducement of infringement, Finale is not liable to
11   Plaintiff for the acts alleged to have been performed before Finale knew that its
12   actions would cause indirect infringement.
13                             FIFTH AFFIRMATIVE DEFENSE
14            The claims of the ’101 Patent are not entitled to a scope sufficient to
15   encompass any system employed or process practiced by Finale.
16                             SIXTH AFFIRMATIVE DEFENSE
17            To the extent Plaintiff contends that it alleges a claim for indirect infringement
18   (whether by inducement or contributorily), Plaintiff has failed to state a claim upon
19   which relief can be granted.
20                          SEVENTH AFFIRMATIVE DEFENSE
21            Plaintiff’s Complaint fails to state a claim upon which relief can be granted
22   because the ’101 Patent does not claim patent eligible subject matter under 35 U.S.C.
23   § 101.
24                           EIGHTH AFFIRMATIVE DEFENSE
25            Plaintiff’s Complaint fails to state a claim upon which relief can be granted
26   because, among other things, Plaintiff has not stated a plausible allegation that any
27   system employed or process practiced by Finale comprises: “a mobile device
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 1   comprising a portable handheld housing and a communication interface configured
 2   to enable the mobile device to communicate with a communication network, the
 3   mobile device further comprising a signal processing device and a visual input
 4   device, the visual input device affixed within the portable handheld housing”;
 5   “digital files associated with the mobile device”; “a server in communication with
 6   the communication network, the server comprising a server database configured to
 7   store a look-up table that includes at least a plurality of bar codes associated with a
 8   plurality of articles of commerce, the look-up table also storing a plurality of
 9   information link indicators, each information link indicator associated with a
10   respective bar code and article of commerce, and each information link indicator
11   being configured as a status signal indicating the existence or absence of a link to
12   information pertaining to a respective article of commerce, the link being made to
13   the information via the communication network”; and “wherein the visual input
14   device is configured to scan an image of an article of commerce, decode the image
15   to obtain a bar code and forward data from the scanned image to the signal
16   processing device”; and “wherein, in response to receiving the bar code, the signal
17   processing device is configured to look up the bar code in the look-up table to
18   determine from a respective information link indicator whether or not a link exists
19   for accessing information pertaining to an article of commerce associated with the
20   bar code via the communication network”; as required by Claim 1 of the ’101 Patent.
21                          NINTH AFFIRMATIVE DEFENSE
22         Plaintiff is estopped, based on statements, representations, and admissions
23   made during prosecution of the patent application resulting in the asserted patent,
24   from asserting any interpretation of any valid, enforceable claims of the ’101 Patent
25   that would be broad enough to cover any accused product alleged to infringe the
26   asserted patent, either literally or by application of the doctrine of equivalents.
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 1                           TENTH AFFIRMATIVE DEFENSE
 2         Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C.
 3   §§ 286 and 287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering
 4   costs associated with its action.
 5                        ELEVENTH AFFIRMATIVE DEFENSE
 6         Plaintiff is precluded from recovering its reasonable attorney’s fees, costs, and
 7   or increased damages under 35 U.S.C. §§ 284 or 285.
 8                         TWELFTH AFFIRMATIVE DEFENSE
 9         Should Finale be found to infringe any valid, enforceable claim of the ’101
10   Patent, such infringement was not willful.
11                             FINALE’S COUNTERCLAIMS
12         For its counterclaims against Plaintiff Scanning Technologies Licensing LLC
13   (“Scanning Technologies”), Counterclaim Plaintiff Finale, Inc. (“Finale”), alleges as
14   follows:
15                                         PARTIES
16         1.        Counterclaim Plaintiff Finale, Inc. is an entity organized and existing
17   under the laws of California that maintains a place of business at 165 Hawthorne
18   Ave., Palo Alto, CA 94301.
19         2.        Upon information and belief based solely on Paragraph 3 of the
20   Complaint as pled by Plaintiff, Counterclaim Defendant Scanning Technologies
21   Licensing LLC is a corporation organized and existing under the laws of Texas that
22   maintains its principal place of business at 1801 NE 123 St., Suite 314, Miami, FL
23   33181.
24                                       JURISDICTION
25         3.        Finale incorporates by reference Paragraphs 1–2 above.
26         4.        These counterclaims arise under the patent laws of the United States,
27   Title 35, United States Code. The jurisdiction of this Court is proper under at least
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 1   35 U.S.C. § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
 2         5.        Scanning Technologies has consented to the personal jurisdiction of
 3   this Court at least by commencing its action for patent infringement in this District,
 4   as set forth in its Complaint.
 5         6.        Based solely on Scanning Technologies’s filing of this action, venue
 6   is proper for purposes of these counterclaims in this District pursuant at least 28
 7   U.S.C. §§ 1391 and 1400.
 8                                         COUNT I
 9      DECLARATION REGARDING NON-INFRINGEMENT OF THE ’101
10                                          PATENT
11         7.        Finale incorporates by reference Paragraphs 1–6 above.
12         8.        Based on Scanning Technologies’s filing of this action and at least
13   Finale’s first affirmative defense, an actual controversy has arisen and now exists
14   between the parties as to whether Finale infringes U.S. Patent No. 10,600,101 (the
15   “’101 Patent”).
16        9.         Finale does not infringe at least Claim 1 of the ’101 Patent because,
17   inter alia, the accused system does not comprise: “a mobile device comprising a
18   portable handheld housing and a communication interface configured to enable the
19   mobile device to communicate with a communication network, the mobile device
20   further comprising a signal processing device and a visual input device, the visual
21   input device affixed within the portable handheld housing”; “digital files
22   associated with the mobile device”; “a server in communication with the
23   communication network, the server comprising a server database configured to
24   store a look-up table that includes at least a plurality of bar codes associated with a
25   plurality of articles of commerce, the look-up table also storing a plurality of
26   information link indicators, each information link indicator associated with a
27   respective bar code and article of commerce, and each information link indicator
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 1   being configured as a status signal indicating the existence or absence of a link to
 2   information pertaining to a respective article of commerce, the link being made to
 3   the information via the communication network”; and “wherein the visual input
 4   device is configured to scan an image of an article of commerce, decode the image
 5   to obtain a bar code and forward data from the scanned image to the signal
 6   processing device”; and “wherein, in response to receiving the bar code, the signal
 7   processing device is configured to look up the bar code in the look-up table to
 8   determine from a respective information link indicator whether or not a link exists
 9   for accessing information pertaining to an article of commerce associated with the
10   bar code via the communication network.”
11         10.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201
12   et seq., Finale requests a declaration by the Court that Finale has not infringed and
13   does not infringe any claim of the ’101 Patent under any theory (including directly
14   (whether individually or jointly) or indirectly (whether contributorily or by
15   inducement).
16                                        COUNT II
17                    DECLARATION REGARDING INVALIDITY
18         11.      Finale incorporates by reference Paragraphs 1–10 above.
19         12.      Based on Scanning Technologies’s filing of this action and at least
20   Finale’s Second Affirmative Defense, an actual controversy has arisen and now
21   exists between the parties as to the validity of the claims of the ’101 Patent.
22         13.      The asserted claims of the ’101 Patent are anticipated and/or
23   rendered obvious by, inter alia, U.S. Patent No. 8,489,598 and U.S. Patent No.
24   8,457,449.
25         14.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201
26   et seq., Finale requests a declaration by the Court that the claims of the ’101 Patent
27   are invalid for failure to comply with one or more of the requirements of United
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 1   States Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103,
 2   and 112, and the rules, regulations, and laws pertaining thereto.
 3                                PRAYER FOR RELIEF
 4         WHEREFORE, Finale asks this Court to enter judgment in Finale’s favor and
 5   against Scanning Technologies by granting the following relief:
 6         a)      a declaration that the ’101 Patent is invalid;
 7         b)      a declaration that Finale does not infringe, under any theory, any
 8   valid claim of the ’101 Patent that may be enforceable;
 9         c)      a declaration that Scanning Technologies take nothing by its
10   Complaint;
11         d)      judgment against Scanning Technologies and in favor of Finale;
12         e)      dismissal of the Complaint with prejudice;
13         f)      a finding that this case is an exceptional case under 35 U.S.C. § 285
14   and an award to Finale of its costs and attorneys’ fees incurred in this action; and
15         g)      further relief as the Court may deem just and proper.
16                                    JURY DEMAND
17         Finale hereby demands trial by jury on all issues.
18
19          Dated: June 7, 2021                         Respectfully submitted,
20
                                                       By: /s/ Rodeen Talebi
21                                                     Rodeen Talebi
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26                             PLAINTIFF’S COMPLAINT
